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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK
____________________________________________
                                            :
UNITED STATES SECURITIES AND                :
EXCHANGE COMMISSION                         :
                                            :
              Plaintiff,                    :
                                            :
              vs.                           : No. 1:18-cv-8865-AJN-GWG
                                            :
ELON MUSK                                   :
                                            :
              Defendant.                    :
  __________________________________________:

                 CONSENT MOTION FOR ENTRY OF FINAL JUDGMENT

        Plaintiff United States Securities and Exchange Commission (the “Commission”)

 respectfully submits this consent motion to enter final judgment according to the parties’

 settlement. In support of this motion, the Commission states the following:

        1.      On September 27, 2018, the Commission filed a Complaint against Defendant

 Musk alleging violations of the federal securities laws.

        2.      The parties have reached a settlement agreement in this case. Attached hereto as

 Exhibit 1 is the executed Consent of Defendant Elon Musk, setting forth the terms of his

 settlement with the Commission.

        3.      Attached hereto as Exhibit 2 is the proposed Final Judgment to which Defendant

 Musk agreed. The proposed Final Judgment would permanently enjoin him from violating

 Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5. It would also order him to

 pay a penalty of $20,000,000 and to comply with the undertakings detailed in the Final

 Judgment.
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       The Commission respectfully requests that the Court enter the proposed Final Judgment

attached hereto as Exhibit 2.


Dated: September 29, 2018                         Respectfully submitted,

                                                  /s/ Jina L. Choi
                                                  Jina L. Choi
                                                  Cheryl L. Crumpton*
                                                  E. Barrett Atwood*

                                                  *Motion to appear pro hac vice pending

                                                  U.S. Securities and Exchange Commission
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